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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:10CR394
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                    ORDER
                                           )
BYRON SAUL,                                )
                                           )
             Defendant.                    )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

42). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Indictment against the above-named Defendant.

      IT IS ORDERED that the government’s motion to dismiss (Filing No. 42) is granted

with respect to the above-named Defendant.

      DATED this 14th day of January, 2011.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
